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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS


                                      )
                                      )
MASSACHUSETTS MUTUAL LIFE             )
INSURANCE COMPANY,                    )
                                      )
               Plaintiff,             )       Civil Action No. 3:11-30039-MGM
                                      )
          v.                          )
                                      )
                                      )
DB STRUCTURED PRODUCTS, INC.; et al., )
                                      )
               Defendants.            )
                                      )


 JOINT MOTION FOR ORDER OF VOLUNTARY DISMISSAL WITH PREJUDICE
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       Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiff Massachusetts Mutual Life

Insurance Company (“MassMutual”) and Defendants Deutsche Bank Securities Inc., Anilesh

Ahuja, Michael Commaroto, Richard D’Albert, and Richard Ferguson (collectively,

“Defendants” and, together with MassMutual, the “Parties”) hereby jointly move the Court to

enter an order dismissing the above-captioned action (the “Action”) and all claims asserted in the

Action with prejudice. In support of this motion, the Parties state as follows:

       1.      The Parties constitute all the remaining parties to the Action.

       2.      Pursuant to a settlement agreement, the Parties have agreed that the Action and all

claims asserted in the Action shall be dismissed with prejudice, with each Party bearing its own

costs and attorney’s fees.

       WHEREFORE, the Parties respectfully request that the Court dismiss the Action and all

claims asserted in the Action with prejudice and without attorneys’ fees or costs.


DATED: August 12, 2015


                                        By: /s/ Molly Stephens

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     IT IS SO ORDERED.



DATED: ______________________




                                 MARK G. MASTROIANNI
                                 United States District Judge
